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[SOUTHERN ORTRICT OF MISSISSIPPI

US Dicteict Court ——EILED _

 

 

 

 

 

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v Civ, Bif-e-6 HTW-LRA
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NOTION TO EXTEND TIME TO ORECT
TO REPORT + RecommMENDation [lickeT 37]

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3 PlaintcfP has been in “quarantine " for transfer to home.

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